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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 9:19- 81700-Civ-MIDDLEBROOKS/BRANNON

  HEALTHCARE RESOURCES MANAGEMENT
  GROUP, LLC, a Florida limited liability company,

                 Plaintiff,

  vs.

  ECONATURA ALL HEALTHY WORLD, LLC, a
  foreign limited liability company, MEDTERRA
  CBD, LLC, a foreign limited liability company,
  REJUVENOL LABORATORIES, INC., a foreign
  corporation, and NOXENO HEALTH SCIENCES,
  INC., a foreign corporation,

        Defendants.
  _________________________________________/

                              MOTION TO WITHDRAW AS PLAINTIFF’S COUNSEL

                 ROSENTHAL ROSENTHAL RASCO, LLC, EDUARDO I. RASCO, Esq., and STEVE

  MICHAEL BIMSTON. Esq. (collectively, “RRR”), undersigned counsel for the Plaintiff,

  HEALTHCARE RESOURCES MANAGEMENT GROUP, LLC, (“Plaintiff”) pursuant to Local

  Rule 11.1(d)(3)(A) and Rule 4-1.16(a)(1) of the Florida Rules of Professional Conduct, hereby

  move to withdraw from representation of the Plaintiff in the above-styled action:

                 1) An irreconcilable conflict has arisen between the Plaintiff and RRR which requires

                     RRR to seek permission from the Court to withdraw from its representation of the

                     Plaintiff. The undersigned has had significant discussions with Plaintiff regarding the

                     irreconcilable conflict but have been unable to resolve same.

                 2) Specifically, Rule 4-1.16(a)(1) of the Florida Rules of Professional Conduct mandates

                     withdrawal of undersigned counsel. RRR maintains that its continued representation




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                    of Plaintiff within this action will ultimately result in a violation of the Rules of

                    Professional Conduct.

                 3) RRR is ethically prohibited from divulging specifics as to how its continued

                    representation of the Plaintiff will result in a violation of the Rules of Professional

                    Conduct, as per Rules 4-1.6(a) and 4-1.8(b).

                 4) Therefore, RRR can state only that professional considerations require termination of

                    the representation, which statement “ordinarily should be accepted as sufficient” as

                    per the comment to Rule 4-1.16.

                 5) As a corporate entity, Plaintiff cannot represent itself. See Palazzo v. Gulf Oil Corp.,

                    764 F.2d 1381, 1385 (11th Cir. 1985); see also Joe Hand promotions, Inc. v. Guevara,

                    2019 WL 3754573 at 1-2 (M.D.Fla. July 23, 2019) (limited liability company cannot

                    represent itself).

                 6) RRR therefore requests a period of twenty (20) days within which Plaintiff would be

                    permitted to seek representation by new counsel. Because the discovery period will

                    not end until June 18, 2020 (see D.E. 39) and the trial period will not commence until

                    August 17, 2020 (see D.E. 7), there should be no interference with the progression of

                    this action pursuant to the extant pretrial schedule imposed by the Court.

                 7) Pursuant to Local Rule 7.1(a)(3), RRR hereby certifies that it has conferred with

                    respective counsel for the Defendants and is authorized to represent that this Motion

                    is unopposed by all Defendants. Pursuant to Local Rule 11.1(d)(3)(A), the current

                    mailing address for Plaintiff is as follows: 1288 NW 16th Street, Boca Raton, Florida

                    33486.




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                 WHEREFORE, RRR respectfully requests permission from the Court to withdraw from

  its representation of the Plaintiff, and such other and further relief this Court deems just and

  proper.

                                     ROSENTHAL ROSENTHAL RASCO LLC
                                     Counsel for Plaintiff
                                     ONE AVENTURA EXECUTIVE CENTER
                                     20900 N.E. 30th Ave., Suite 600
                                     Aventura, FL 33180
                                     Phone: 305-937-0300
                                     Facsimile: 305-937-1311

                                     By:    /s/Steve M. Bimston, Esquire
                                            EDUARDO I. RASCO, ESQ.
                                            Florida Bar No. 646326
                                            eir@rrrlaw.com
                                            STEVE M. BIMSTON, ESQ.
                                            Florida Bar No. 179205
                                            smb@rrrlaw.com




                                       CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY that on the 23rd day of April, 2020 I electronically filed the

  foregoing with the Clerk of Court using CM/ECF thereby ensuring electronic notification of

  same to all parties of record and furthermore served a copy of the foregoing upon Plaintiff via




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  email to its managing members, Sam Genovese (sam@pharmalieve.com) and Mercy Romero

  (Mromero@pharmalieve.com).


                           ROSENTHAL ROSENTHAL RASCO LLC
                           Counsel for Plaintiff
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                           By:   /s/Steve M. Bimston, Esquire




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